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                   IN THE UNITED STATES DISTRICT COURT

                  FOR THE EASTERN DISTRICT OF VIRGINIA

                             Newport News Division

UNITED STATES OF AMERICA                   CRIMINAL N0.4:17CR

             V.

                                           18 U.S.C.§ 2252(a)(4)(B)
ELMER EMMANUEL EYCHANER, III,              Access with Intent to View Visual
                                           Depictions of Minors Engaged in Sexually
Defendant.                                 Explicit Conduct
                                           (Count 1)

                                           18U.S.C. §1466A (a)(1)
                                           Attempted Receipt of Obscene Visual
                                           Representations of the Sexual Abuse
                                           of Children
                                           (Count 2)

                                           18U.S.C. §1519
                                           Destruction of a Tangible Object to Impede a
                                           Federal Investigation
                                           (Count 3)

                                           18U.S.C. § 1512(c)(1)
                                           Obstruction of Justice-Attempted Evidence
                                           Tampering
                                           (Count 4)

                                           18U.S.C. §2260A
                                           Penalties for Registered Sex
                                           Offender
                                           (Count 5)

                                           18U.S.C. §2253
                                           Criminal Forfeiture




                                INDICTMENT


                  August 2017 Term - At Newport News, Virginia
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                                       GENERAL ALLEGATIONS


        At all times material to the indictment:

         1.      The defendant, ELMER EMMANUEL EYCHANER, III, was a resident of

Newport News, Virginia.

        2.       On or about June 16, 2016, the defendant, ELMER EMMANUEL EYCHANER,

III, was on supervised release under the supervision of the United States Probation Office for his

federal conviction in case of United States v. ELMER EMMANUEL EYCHANER, III, case

number 2:07Cr 183.

        3.       Pursuant to his supervision there were special conditions related to the possession

and use of a computer, including, but not limited to, express prohibitions regarding the accessing

and possession ofjuvenile-related pornographic materials.



                                           COUNT ONE


        THE GRAND JURY CHARGES THAT:

        1.       The factual allegations in the General Allegations section are incorporated herein

by reference as if set out in fiill.

        2.       On or about November 17, 2016, in the Eastern District of Virginia, defendant

ELMER EMMANUEL EYCHANER, III, did knowingly access with intent to view at least one

matter, that is websites, which contained visual depictions that has been mailed, shipped and

transported using any means and facility of interstate and foreign commerce, has been shipped and

transported and in and affecting interstate and foreign commerce, and was produced using

materials which have been mailed and shipped and transported in and affecting interstate and

foreign commerce, by any means including by computer, and the production of such visual
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depiction involved the useof a minorengaging in sexually explicit conduct andthe visual depiction

is of such conduct.

        (In violation of Title 18, United States Code, Sections 2252(a)(4)(B), 2252(b)(2) and
2256(2).)




                                          COUNT TWO

        THE GRAND JURY FURTHER CHARGES THAT:

        1.      The factual allegations in the General Allegations section are incorporated herein

by reference as if set out in full.

        2.      On or about November 17,2016, in the Eastern District of Virginia, the defendant,

ELMER EMMANUEL EYCHANER, III, knowingly received and attempted to receive visual

depictions that depict minors engaging in sexually explicit conduct and are obscene, to wit:

obscene anime cartoons, that were mailed and shipped and transported in interstate and foreign

commerce by any means, including by computer, and were produced using materials that have

been mailed, and that had been shipped and transported in interstate or foreign commerce by any

means, including by computer.

                (In violation of Title 18, United States Code, Section 1466 A(a)(I)).
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                                         COUNT THREE


        THE GRAND JURY FURTHER CHARGES THAT:

        1.      The factual allegations in the General Allegations section are incorporated herein

by reference as if set out in full,

        2.      On or about November 17,2016, in the Eastern District of Virginia, the defendant,

ELMER EMMANUEL EYCHANER, III, did knowingly destroy and mutilate a tangible object,
to wit: a computer hard drive, vwth the intent to impede, obstruct and influence the investigation

and proper administration of Supervised Release, a matter that ELMER EMMANUEL

EYCHANER, III knew and contemplated was within the jurisdiction of the United States

Probation Office, a department and agency of the United States.

                    (In violation of Title 18, United States Code, Sections 1519).



                                          COUNT FOUR


        THE GRAND JURY FURTHER CHARGES THAT;

        1,      The factual allegations in the General Allegations section are incorporated herein

by reference as if set out in full.

        2.      On or about November 17,2016, in the Eastern District of Virginia, the defendant,

ELMER EMMANUEL EYCHANER, III, did corruptly attempt to alter, destroy, mutilate and

conceal a record, document, or other object, to wit: computer, computer battery and computer hard

drive, and attempt to do so, with the intent to impair its integrity and availability for use in an

official proceeding to wit: a federal grandjury investigation.

                 (In violation ofTitle 18, United States Code, Sections 1512(c)(1)).
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                                          COUNT FIVE


        THE GRAND JURY FURTHER CHARGES THAT:

        1.      The factual allegations in the General Allegations section are incorporated herein

by reference as if set out in full.

        2.      On or aboutNovember 17,2016, in the Eastern District of Virginia and boundaries

of a territorial jurisdiction of the United States, the defendant, ELMER EMMANUEL

EYCHANER, III, an individual required by Federal or other law to register as a sex offender,

committed a felony offense involving a minor under Title 18, United States Code, Section 1466A.

                       (In violation of Title 18, United States Code, Section 2260A.)



                                          FORFEITURE


        THE GRAND JURY FURTHER ALLEGES AND FINDS PROBABLE CAUSE THAT:

        1.      Pursuant to Rule 32.2(a) Fed. R. Crim. P., the defendant is hereby notified that, if

convictedofany ofthe violationsalleged counts one, two and four ofthis Indictment,the defendant

shall forfeit to the United States as part of the sentencing, any property, real or personal, which

constitutes or is derived from proceeds traceable to the violation.

        2.      Pursuant to Rule 32.2(a) Fed. R. Crim. P., the defendant is hereby notified that, if

convictedofeither ofthe violations alleged in counts one and two ofthis Indictment,the defendant

shall forfeit to the United States as part of the sentencing, any and all property, real or personal,

used or intended to be used to commit or to promote the commission of the violation, and any

property traceable to such property.

        3.      Pursuant to Rule 32.2(a) Fed. R. Crim. P., the defendant is hereby notified that, if

convicted of the violation alleged in count one of this Indictment, the defendant shall forfeit to the
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United States as part of the sentencing, any and all matter which contains child pornography or
any visual depiction described in Title 18, United States Code, Sections 2251, 2251 A, 2252,

2252A, 2252B, or 2260 produced, transported, mailed, shipped, or received in violation of Title

18,United States Code, Section 2251 etseq..

       4.      Pursuant to Rule 32.2(a) Fed. R. Crim. P., the defendant is hereby notified that, if

convicted of the violation alleged in coimts two of this Indictment, the defendant shall forfeit to

the United States as part of the sentencing, any obscene material produced, transported, mailed,

shipped, or received in violation of Title 18, United States Code, Section 1460 et seq..

       5.      If any property that is subject to forfeiture, as a resuh of any act or omission of the

defendant (i) cannot be located upon the exercise ofdue diligence,(ii) has been transferred to, sold

to, or deposited with a third party, (iii) has been placed beyond the jurisdiction of the Court, (iv)

has been substantially diminished in value, or (v) has been commingled with other property that

cannot be divided without difficulty, it is the intention of the United States to seek forfeiture of

any other property of the defendant, as subject to forfeiture under Title 21, United States Code,

Section 853(p).

       6.      The property subject to forfeiture includes, but is not limited to, the following:

               *       Dell Laptop with service tag B9JSS32 with power cord,

 (In accordance with Title 18, United States Code, Sections 981(a)(1)(C), 1467 and 2253; Title
                              28, United States Code, Section 2461).
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Criminal No.: 4:17cr




                                        A TRUE BILL:

                                         ~R-cd/itek(k^
                                        FOREPERSON




DANA J. BOENTE
UNITED STATES ATTORNEY




Assistant United States Attorney


Meg^n M. Cowles
Assistant United States Attorney
